  Case 3:18-cv-00154-N Document 231 Filed 10/09/19                   Page 1 of 4 PageID 8794




The Honorable David C. Godbey
United States District Judge
Northern District of Texas
1100 Commerce Street, Room 1504
Dallas, Texas 75242-1003

Via CM/ECF

October 9, 2019

RE:    Daves v. Dallas County, No. 3:18-cv-154 (N.D. Tex.)


       The Parties write this letter to address the pending Rule 26(f) Case Management Report, in

which the Parties jointly asked this Court to enter a variety of case management deadlines,

including a deadline of November 15, 2019 for the close of written discovery. See Dkt. 198 at 5–

10. There is currently no case management order in this case, and the Parties now write to inform

this Court about the status of discovery, the need for an extension of time from the deadlines

proposed in the Parties’ Report, and to respectfully request that this Court not order the Parties to

comply with the deadlines they proposed in their April 2019 26(f) Report. A modified Rule 26(f)

Report with amended proposed deadlines is forthcoming.

       Because of the volume of discovery to be produced, the Parties cannot complete written

discovery by November 15, 2019. The Parties are working diligently to propose specific, new

deadlines for a case management order. The Parties have met and conferred via phone four times

since Plaintiffs propounded discovery requests upon Defendants in April and are endeavoring to


                                                  1
                                          Civil Rights Corps
                                     910 17th Street, NW Suite 200
                                        Washington, DC 20006
 Case 3:18-cv-00154-N Document 231 Filed 10/09/19                   Page 2 of 4 PageID 8795



work cooperatively to resolve discovery disputes and facilitate discovery production. The Parties

will conduct another Rule 26(f) conference in the coming weeks, after more discovery is

completed, and will submit a modified Rule 26(f) Report that requests that new case management

deadlines be incorporated into a case management order.

       On April 15, 2019, Plaintiffs propounded requests for production of documents upon

Defendants (Plaintiffs’ Third Request for Production of Documents to the Felony Judge

Defendants and Plaintiffs’ Fourth Request for Production of Documents to the Dallas County

Defendants (“document requests”)). In the five months since Plaintiffs propounded the document

requests, the Felony Judges have produced 60 documents and the County Defendants have

produced over 7,000 documents.

       The Parties met and conferred most recently on September 23, 2019 to discuss the status

of discovery production. Dallas County informed Plaintiffs that they still have about 200,000

documents to review and produce pursuant to the Parties agreed upon search protocol for the

discovery requests. The Felony Judges informed Plaintiffs that they have about 250,000 documents

to review and produce (although about 130,000 of those documents can be easily segregated and

produced separately) pursuant to the agreed upon search protocol. Further, due to technological

issues, the County Defendants have yet to produce any of the videos Plaintiffs requested on April

15.

       The Parties note that the Plaintiffs and County Defendants disagree about the proper scope

of the discovery requests, namely whether and to what extent documents created prior to the filing

of the Complaint are relevant. Because Plaintiffs challenge the policies that were in place when


                                                 2
                                         Civil Rights Corps
                                    910 17th Street, NW Suite 200
                                       Washington, DC 20006
  Case 3:18-cv-00154-N Document 231 Filed 10/09/19                   Page 3 of 4 PageID 8796



the Complaint was filed in January 2018, Plaintiffs contend that documents and information from

prior to filing are relevant to the clams and defenses at issue in this litigation. The County

Defendants disagree and object to producing any documents from prior to the date the lawsuit was

filed, other than emails of the presiding magistrate judge. The Parties will continue to work

together to resolve this and other discovery disputes and will present any discovery disputes they

are unable to resolve, once ripe for review, to the Magistrate Judge.

       Respectfully Submitted,

/s/ Elizabeth Rossi                                    /s/ Trisha Trigilio
Elizabeth Rossi (Pro Hac Vice)                         Trisha Trigilio
D.C. Bar No. 1500502                                   Texas Bar No. 24075179
Alec Karakatsanis (Pro Hac Vice)                       Andre Segura
D.C. Bar No. 1614199                                   N.Y. Bar No. 5021647
A. Dami Animashaun (Pro Hac Vice)                      ACLU Foundation of Texas
D.C. Bar No. 5552849                                   5225 Katy Freeway, Suite 350
Civil Rights Corps                                     Houston, Texas 77007
1601 Connecticut Ave NW, Suite 800                     Tel: (713) 942-8146
Washington, DC 20009                                   Fax: (713) 942-8966
Tel: (202) 599-0953                                    ttrigilio@aclutx.org
Fax: (202) 609-8030                                    asegura@aclutx.org
elizabeth@civilrightscorps.org
alec@civilrightscorps.org
dami@civilrightscorps.org

/s/ Andrea Woods                                       /s/Emily Gerrick
Andrea Woods (Pro Hac Vice)                            Emily Gerrick
Washington Bar Number: 48265                           Texas Bar No. 24092417
Brandon J. Buskey (Pro Hac Vice)                       Texas Fair Defense Project
Alabama Bar Number: ASB-2753-A50B                      314 E. Highland Mall Blvd.
ACLU Foundation                                        Austin, Texas 78752
Criminal Law Reform Project                            Tel: (512) 637-5220
New York, NY 10004                                     Fax: (512) 637-5224
Tel: (212) 284-7364                                    egerrick@fairdefense.org
Fax: (212) 549-2654
awoods@aclu.org
bbuskey@aclu.org

Attorneys for Plaintiffs



                                                  3
                                          Civil Rights Corps
                                     910 17th Street, NW Suite 200
                                        Washington, DC 20006
 Case 3:18-cv-00154-N Document 231 Filed 10/09/19                  Page 4 of 4 PageID 8797


/s/ Katharine D. David
Katharine D. David
Texas Bar No. 24045749
kate.david@huschblackwell.com
Ben Stephens
Texas Bar No. 24098472
ben.stephens@huschblackwell.com
600 Travis, Suite 2350
Houston, Texas 77002
Tel: 713.525.6200
Fax: 713.647.6884

Attorneys for Dallas County Defendants

K E N P A XT O N
Attorney General of Texas
J E F FE RE Y C. M A T E E R
First Assistant Attorney General
B RA NT L E Y S T A R R
Deputy First Assistant Attorney General
D A RRE N L. M C C A R T Y
Deputy Attorney General for Civil Litigation
A M A ND A J. C O C H R A N -M C C A L L
Acting Chief - General Litigation Division

/s/ Eric A. Hudson
Eric A. Hudson
Attorney-in-Charge
Texas Bar No. 24059977
ENRIQUE M. VARELA
Texas Bar No. 24043971
Assistant Attorneys General
General Litigation Division
Office of the Attorney General – 019
P.O. Box 12548, Capitol Station
Austin, Texas 78711
(512) 463-4058
(512) 320-0667 FAX
eric.hudson@oag.texas.gov
enrique.varela@oag.texas.gov

Attorneys for the Defendants Felony Judges




                                                4
                                        Civil Rights Corps
                                   910 17th Street, NW Suite 200
                                      Washington, DC 20006
